This was a suit brought by certain electors asking to enjoin the defendant Kerby as Secretary of State, and the other defendants as members and clerks of the boards of supervisors of the various counties of the state of Arizona, from submitting a certain ballot to the voters at the special election to be held on September 29th, 1925, when an amendment to section 8, article 18, of the Constitution of Arizona was to be passed upon by the qualified electors of the state. The trial court denied the injunction, and an appeal was taken to this court.
Before the matter was ready for submission to us, the election was held, the voters of the state approved the proposed amendment, and we have since, in the case of Alabam's FreightCo. v. Hunt, 29 Ariz. 419, 242 P. 658, held it to be a part of the Constitution. The case is a moot one, and this court does not sit for the purpose of determining such questions. Harrison
v. Hunt, 28 Ariz. 75, 235 P. 158.
The appeal is therefore dismissed.